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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7     IN RE CALIFORNIA BAIL BOND                               Case No. 19-cv-00717-JST (DMR)
                                         ANTITRUST LITIGATION
                                   8
                                                                                                  ORDER ON JOINT DISCOVERY
                                   9                                                              LETTER RE: CLAWBACK
                                                                                                  CHALLENGE
                                  10
                                                                                                  Re: Dkt. No. 510
                                  11

                                  12
Northern District of California




                                               The court has reviewed the parties’ December 9, 2024 joint discovery letter in which
 United States District Court




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                                       Plaintiffs challenge the clawback based on attorney-client privilege of 29 documents produced by
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                                       Defendants American Surety Company (“ASC”) and Lexington National Insurance Corporation
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                                       (“Lexington”). [Docket No. 510.] Plaintiffs move for an order requiring ASC and Lexington to
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                                       lodge the documents for in camera review. They also request leave to file a brief and supporting
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                                       evidence to show that the documents are not privileged, or that a waiver or exception to the
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                                       privilege applies. Defendants do not oppose in camera review of the documents but request leave
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                                       to file a brief in support of their claims of privilege.
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                                               The court orders ASC and Lexington to lodge the 29 documents for in camera review by
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                                       December 20, 2024. The documents shall be clearly marked to indicate what information is being
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                                       claimed as privileged and what privilege is being asserted. This dispute will be handled by motion
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                                       rather than joint discovery letter because ASC and Lexington must provide evidentiary support for
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                                       each specific assertion of privilege and non-waiver. The joint discovery letter at Docket 510 is
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                                       denied without prejudice. By January 3, 2025, Defendants shall file a regularly noticed motion to
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                                       support their claims of privilege, including why a waiver or an exception to privilege does not
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                                       apply. The motion may not exceed 12 pages. Plaintiffs’ opposition may not exceed 12 pages and
                                  28
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                                   1   shall be filed in accordance with the timing set forth in Local Rule 7-3. Any reply may not exceed

                                   2   6 pages and shall be filed in accordance with the timing set forth in Local Rule 7-3. The parties’

                                   3   briefing must apply federal privilege law1 and the parties must also provide evidentiary support for

                                   4   their positions in the form of declarations sworn under penalty of perjury. The parties may not

                                   5   incorporate by reference any prior submissions or use footnotes.

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                                   9           IT IS SO ORDERED.

                                  10   Dated: December 13, 2024

                                  11                                                    ______________________________________
                                                                                                     Donna M. Ryu
                                  12                                                             Chief Magistrate Judge
Northern District of California
 United States District Court




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                                         This court exercises federal question jurisdiction over Plaintiffs’ claims pursuant to Sections 4
                                       and 16 of the Clayton Act (15 U.S.C. §§ 15 and 26) and 28 U.S.C. § 1331, and supplemental
                                  27   jurisdiction over Plaintiffs’ pendent state law claims. [Docket No. 269 (Third Consolidated
                                       Amended Class Action Complaint) ¶ 12.] The Ninth Circuit has held that “[w]here there are
                                  28   federal question claims and pendent state law claims present, the federal law of privilege applies.”
                                       Agster v. Maricopa Cty., 422 F.3d 836, 839 (9th Cir. 2005).
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